Case 1:15-cv-01889-REB-CBS Document 177 Filed 03/28/17 USDC Colorado Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Case No. 15-cv-01889-REB-CBS

   RODOLFO LLACUA, et al.,

         Plaintiffs,
   v.

   WESTERN RANGE ASSOCATION, et al.,

         Defendants.


                                     NOTICE OF APPEAL


         Notice is hereby given that all Plaintiffs in the above named case hereby appeal

   to the United States Court of Appeals for the Tenth Circuit from the final judgment

   entered in this action on March 7, 2017.



                                                          Respectfully Submitted,

                                                          s/Alexander Hood
                                                          Alexander Hood
                                                          David Seligman
                                                          Andrew Schmidt
                                                          Nina Disalvo
                                                          Towards Justice
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                                                          Attorneys for Plaintiffs




                                               1
Case 1:15-cv-01889-REB-CBS Document 177 Filed 03/28/17 USDC Colorado Page 2 of 2




                                   Certificate of Service

          I hereby certify that on March 28, 2017, I served a true and correct copy of the
   forgoing on all parties that have appeared pursuant to Fed.R.Civ.P. 5.

                                                 s/Alexander Hood
                                                 Alexander Hood




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